         Case 1:18-cv-23615-CMA Document 1-1 Entered on FLSD Docket 09/05/2018 Page 1 of 1
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     (c) Attorneys(FirmNl/nc,Asuress,andFc/c,/l
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